USCA Case #25-5144         Document #2113359               Filed: 04/28/2025      Page 1 of 3



                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                       1:25-cv-01015-RCL
                                                       Filed On: April 28, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145                                                            1:25-cv-00887-RCL




Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants
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                   United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024


No. 25-5150
                                                                      1:25-cv-00966-RCL


Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants


No. 25-5151
                                                                      1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants

       BEFORE:       Pillard, Katsas, and Rao, Circuit Judges

                                        ORDER

      Upon consideration of the motions for an administrative stay and stay pending
appeal filed in these cases, and the responses thereto, and the motion for expedited
consideration filed in No. 25-5150 and No. 25-5151, it is
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                United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________
No. 25-5144                                              September Term, 2024


       ORDERED that any remaining responses to the motions for an administrative
stay and stay pending appeal are now due by 10:00 a.m. on Tuesday, April 29, 2025.
Any replies are now due by 11:59 p.m. on Tuesday, April 29, 2025.


                                     Per Curiam


                                                       FOR THE COURT:
                                                       Clifton B. Cislak, Clerk

                                               BY:     /s/
                                                       Amy Yacisin
                                                       Deputy Clerk




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